                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                        AT CHATTANOOGA

   UNITED STATES OF AMERICA,

   v.                                                          Docket No. 1:18-CR-11
                                                               JUDGE MATTICE
   JERRY WAYNE WILKERSON,                                      MAGISTRATE JUDGE STEGER
   MICHAEL CHATFIELD,
   KASEY NICHOLSON,
   BILLY HINDMON, and
   JAYSON MONTGOMERY
          Defendants.


                     MOTION FOR ADDITIONAL APPLICABLE LEGAL STANDARDS


          Comes now the Defendant, Michael Chatfield, by and through undersigned counsel, and

   moves this Court to consider additional applicable legal standards. This case is a bench trial, so

   no jury instructions are explicitly required. However, the Court has shared applicable legal

   standards that will be considered in deciding the case. Mr. Chatfield respectfully submits the

   following additional standards:

   Good Faith Instruction

          Mr. Chatfield’s defense has been, in part, that the Government has not demonstrated

   fraudulent intent on his part as it relates to the various fraud counts. The Sixth Circuit Pattern

   Jury Instructions notes, “If there is any evidence at all of good faith, the court should refer to

   Instruction 10.04 Fraud – Good Faith Defense.” See Sixth Circuit Pattern Instruction 10.01, 10.02,

   and 10.05. Because Mr. Chatfield has been able to demonstrate through witnesses that he was

   acting in good faith, the Court should consider the following standard from Sixth Circuit Pattern




                                  Page 1 of 4
Case 1:18-cr-00011-HSM-CHS Document 351 Filed 11/19/19 Page 1 of 4 PageID #: 3974
   Jury Instruction 10.04 in connection to Count One, Conspiracy to Commit Health Care Fraud,

   Counts 2-108, Wire Fraud, Counts 109 through 134, Mail Fraud, Counts 135-140, Health Care

   Fraud, and Counts 141 through 167, Violation of the Anti-Kickback Statute:

                         (1) The good faith of the defendant is a complete defense to the charges
                             of Wire Fraud, Mail Fraud, and Health Care Fraud contained in Counts
                             2 through 108, 109 through 134, and 135 through 140, respectively, of
                             the indictment because good faith on the part of the defendant is,
                             simply, inconsistent with an intent to defraud.

                         (2) A person who acts, or causes another person to act, on a belief or an
                             opinion honestly held is not punishable under these statutes merely
                             because the belief or opinion turns out to be inaccurate, incorrect, or
                             wrong. An honest mistake in judgment or an honest error in
                             management does not rise to the level of criminal conduct.

                         (3) A defendant does not act in good faith if, even though he honestly
                             holds a certain opinion or belief, the defendant also knowingly makes
                             false or fraudulent pretenses, representations, or promises to others.

                         (4) While the term “good faith” has no precise definition, it encompasses,
                             among other things, a belief or opinion honestly held, an absence of
                             malice or ill will, and an intention to avoid taking unfair advantage of
                             another.

                         (5) The burden of proving good faith does not rest with the defendant
                             because the defendant does not have any obligation to prove anything
                             in this case. It is the government’s burden to prove to you, beyond a
                             reasonable doubt, that the defendant acted with an intent to defraud.

                         (6) If the evidence in this case leaves you with a reasonable doubt as to
                             whether the defendant acted with an intent to defraud or in good faith,
                             you must acquit the defendant.

   Material Omission

          Unlike an affirmative misrepresentation that is material, the Sixth Circuit has held that

   fraudulent pretenses or representations can include omissions, or concealment, “where one says

   nothing but has a duty to speak.” United States v. Maddux, 917 F.3d 437, 443-446 (6th Cir. 2019).



                                  Page 2 of 4
Case 1:18-cr-00011-HSM-CHS Document 351 Filed 11/19/19 Page 2 of 4 PageID #: 3975
   A fair reading of that case, and the summary of the case in the notes to the Sixth Circuit Pattern

   Jury Instructions, supports that an omission or concealment can only be material under the fraud

   statutes when there is an affirmative legal or contractual duty to provide information that was

   omitted or concealed. The Third Circuit uses such language in its pattern fraud instruction, and

   Mr. Chatfield respectfully submits the Court should consider the Third Circuit’s standard as

   articulated in Pattern Instruction 6.18.1341-1 here:

                          The failure to disclose information may constitute a fraudulent
                          representation if the defendant was under a legal, professional, or
                          contractual duty to make such a disclosure, the defendant actually knew
                          such disclosure ought to be made, and the defendant failed to make such
                          disclosure with the intent to defraud.

   This standard should be applied to Counts 2 through 140.

   Joining a Conspiracy

          As the Court has properly noted, the elements for conspiracy require proof that the

   defendant knowingly and voluntarily joined the conspiracy. As to this element, the Sixth Circuit

   articulates standards relating to a defendant’s connection to the conspiracy in Pattern Instruction

   3.03. Mr. Chatfield respectfully requests that this standard, as articulated in the pattern

   instructions, be applied here.


                          DEFENDANT'S CONNECTION TO THE CONSPIRACY

                           (1) If you are convinced that there was a criminal agreement, then you
                          must decide whether the government has proved that the defendants
                          knowingly and voluntarily joined that agreement. You must consider each
                          defendant separately in this regard. To convict any defendant, the
                          government must prove that he knew the conspiracy's main purpose, and
                          that he voluntarily joined it intending to help advance or achieve its goals.

                          (2) This does not require proof that a defendant knew everything about
                          the conspiracy, or everyone else involved, or that he was a member of it


                                  Page 3 of 4
Case 1:18-cr-00011-HSM-CHS Document 351 Filed 11/19/19 Page 3 of 4 PageID #: 3976
                         from the very beginning. Nor does it require proof that a defendant played
                         a major role in the conspiracy, or that his connection to it was substantial.
                         A slight role or connection may be enough.

                         (3) But proof that a defendant simply knew about a conspiracy, or was
                         present at times, or associated with members of the group, is not enough,
                         even if he approved of what was happening or did not object to it.
                         Similarly, just because a defendant may have done something that
                         happened to help a conspiracy does not necessarily make him a
                         conspirator. These are all things that you may consider in deciding
                         whether the government has proved that a defendant joined a conspiracy.
                         But without more they are not enough.

                         (4) A defendant's knowledge can be proved indirectly by facts and
                         circumstances which lead to a conclusion that he knew the conspiracy's
                         main purpose. But it is up to the government to convince you that such
                         facts and circumstances existed in this particular case.
   Conclusion

          Based on the foregoing, Mr. Chatfield requests that this Court consider the described legal

   standards in determining the outcome of this case.

          Respectfully submitted, this 18th day of November, 2019.




                                                        s/ David M. Eldridge
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                                  Page 4 of 4
Case 1:18-cr-00011-HSM-CHS Document 351 Filed 11/19/19 Page 4 of 4 PageID #: 3977
